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  1   Juanita R. Brooks, SBN 75934, brooks@fr.com
      Seth M. Sproul, SBN 217711, sproul@fr.com
  2   FISH & RICHARDSON P.C.
  3   12390 El Camino Real
      San Diego, CA 92130
  4   Telephone: (619) 678-5070 / Fax: (619) 678-5099
  5   Ruffin B. Cordell, DC Bar No. 445801, pro hac vice, cordell@fr.com
  6   Lauren A. Degnan, DC Bar No. 452421, pro hac vice, degnan@fr.com
      FISH & RICHARDSON P.C.
  7   1000 Main Avenue, S.W., Suite 1000
      Washington, D.C. 20024
  8   Telephone: (202) 783-5070 / Facsimile: (202) 783-2331
  9   William A. Isaacson, DC Bar No. 414788, pro hac vice, wisaacson@bsfllp.com
 10   Karen L. Dunn, DC Bar No. 1002520, pro hac vice, kdunn@bsfllp.com
      BOIES SCHILLER FLEXNER LLP
 11   1401 New York Avenue, N.W.
      Washington, DC 20005
 12   Telephone: (202) 237-2727 / Facsimile: (202) 237-6131
 13
      Attorneys for Plaintiff and Counterclaim-Defendant Apple Inc.
 14
      (Counsel for the CMs and additional counsel listed below signature line)
 15
                            UNITED STATES DISTRICT COURT
 16
                         SOUTHERN DISTRICT OF CALIFORNIA
 17
      IN RE:                           Case No. 3:17-CV-00108-GPC-MDD
 18
      QUALCOMM LITIGATION,             [Consolidated with 3:17-CV-01010-GPC-MDD]
 19
 20                                    APPLE INC. AND THE CONTRACT
 21                                    MANUFACTURERS’ NOTICE OF LODGMENT
                                       SEALED CERTAIN DOCUMENTS IDENTIFIED
 22                                    FOR OPENING STATEMENTS AND WITNESS
 23                                    EXAMINATIONS

 24                                    Judge:      Hon. Gonzalo P. Curiel
                                       Dept:       2D
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  1         Apple Inc. (“Apple”), and Compal Electronics, Inc., Hon Hai Precision
  2   Industry Co., Ltd., FIH Mobile Ltd., Pegatron Corporation, and Wistron Corporation
  3   (collectively, the “Contract Manufacturers” or “CMs”) submit this Notice of
  4   Lodgment of certain documents identified for opening statements and witness
  5   examinations in connection with their Motion to File Under Seal (D.I. 1156):
  6       DTX01350
  7       DTX01665
  8       DTX02000
  9       DTX02011
 10       DTX02030
 11       DTX02031
 12       DTX02132
 13       DTX02165
 14       DTX02334
 15       DTX02588
 16       DTX02589
 17       DTX03078
 18       DTX09313
 19       DTX09318
 20       DTX09324
 21       JTX0009
 22       PTX002334
 23       PTX002902
 24   Dated: April 15, 2019         Respectfully submitted,
 25                                 By: /s/ Michael A. Amon
                                       Juanita R. Brooks, SBN 75934, brooks@fr.com
 26                                    Seth M. Sproul, SBN 217711, sproul@fr.com
                                       Fish & Richardson P.C.
 27                                    12390 El Camino Real
                                       San Diego, CA 92130
 28                                    Phone: 619-678-5070 / Fax: 619-678-5099
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  1                                 Ruffin B. Cordell, DC Bar No. 445801
                                    pro hac vice, cordell@fr.com
  2                                 Lauren A. Degnan, DC Bar No. 452421
                                    pro hac vice, degnan@fr.com
  3                                 Fish & Richardson P.C.
                                    The McPherson Building
  4                                 901 15th Street, N.W., 7th Floor
                                    Washington, D.C. 20005
  5                                 Phone: 202-783-5070 / Fax: 202-783-2331
  6                                 Benjamin C. Elacqua, TX Bar No. 24055443
                                    pro hac vice, elacqua@fr.com
  7                                 Fish & Richardson P.C.
                                    One Houston Center, 28th floor
  8                                 1221 McKinney
                                    Houston, TX 77010
  9                                 Phone: 713-654-5300 / Fax: 713-652-0109
 10                                 William A. Isaacson, DC Bar No. 414788
                                    pro hac vice, wisaacson@bsfllp.com
 11                                 Karen L. Dunn, DC Bar No. 1002520
                                    pro hac vice, kdunn@bsfllp.com
 12                                 BOIES SCHILLER FLEXNER LLP
                                    1401 New York Avenue, N.W.
 13                                 Washington, DC 20005
                                    Telephone: 202-237-2727
 14                                 Facsimile: 202-237-6131
 15                             Attorneys for Plaintiff and Counterclaim-Defendant
                                Apple Inc.
 16
 17                             By: /s/ Jason C. Lo
                                   GIBSON DUNN & CRUTCHER, LLP
 18                                Theodore J. Boutrous, Jr. (SBN 132099)
                                   tboutrous@gibsondunn.com
 19                                Daniel G. Swanson (SBN 116556)
                                   dswanson@gibsondunn.com
 20                                Jason C. Lo (SBN 219030)
                                   jlo@gibsondunn.com
 21                                Jennifer J. Rho (SBN 254312)
                                   jrho@gibsondunn.com
 22                                Melissa Phan (SBN 266880)
                                   mphan@gibsondunn.com
 23                                333 South Grand Avenue
                                   Los Angeles, CA 90071
 24                                Telephone: (213) 229-7000
                                   Facsimile: (213) 229-7520
 25
                                     Cynthia E. Richman (Pro Hac Vice)
 26                                  (DC Bar No. 492089)
                                     crichman@gibsondunn.com
 27                                  1010 Connecticut Avenue, N.W.
                                     Washington, DC 20036
 28                                  Telephone: (202) 955-8500
                                             2 Case No. 3:17-CV-00108-GPC-MDD
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                                     Facsimile: (202) 467-0539
  1
                                Attorneys for Defendants, Counterclaimants, and
  2                             Third-Party Plaintiffs, COMPAL ELECTRONICS,
                                INC., FIH MOBILE LTD., HON HAI PRECISION
  3                             INDUSTRY CO., LTD., PEGATRON CORPORATION,
                                WISTRON CORPORATION
  4
                                     HUGH F. BANGASSER (Pro Hac Vice)
  5                                  hugh.bangasser@klgates.com
                                     CHRISTOPHER M. WYANT (Pro Hac Vice)
  6                                  chris.wyant@klgates.com
                                     J. TIMOTHY HOBBS (Pro Hac Vice)
  7                                  tim.hobbs@klgates.com
                                     K&L GATES LLP
  8                                  925 Fourth Avenue, Suite 2900
                                     Seattle, Washington 98104
  9                                  Telephone: +1 206 623 7580
                                     Facsimile: +1 206 370 6371
 10
                                Attorneys for Defendant, Counterclaimant, and Third-
 11                             Party Plaintiff Wistron Corporation
 12
 13
 14
 15
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 17
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 19
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                                             3 Case No. 3:17-CV-00108-GPC-MDD
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                                   FILER’S ATTESTATION
  1
            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
  2
      Policies and Procedures of the United States District Court of the Southern District
  3
      of California, I certify that authorization for the filing of this document has been
  4
      obtained from each of the other signatories shown above and that all signatories
  5
      have authorized placement of their electronic signature on this document.
  6
  7
      Dated: April 15, 2019                   /s/Michael A. Amon
  8                                           Michael A. Amon
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  1                             CERTIFICATE OF SERVICE
            The undersigned hereby certifies that a true and correct copy of the above and
  2
      foregoing document has been served on April 15, 2019 to all counsel of record who
  3
      are deemed to have consented to electronic service via the Court’s CM/ECF system
  4
      per Civil Local Rule 5.4. Any other counsel of record will be served by electronic
  5
      mail, facsimile and/or overnight delivery.
  6
            Executed on April 15, 2019, at San Diego, California.
  7
  8
                                          /s/ Michael A. Amon
  9                                       Michael A. Amon
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